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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
________________________________________________
                                                 )
MOHAMMED SABRA, as next friend of Baby M.,       )
                                                 )
                     Plaintiff                  )
       v.                                       ) Civil Action No. 1:19-02090-EGS
                                                )
                                                )
                     1
MICHAEL POMPEO, Secretary,                       )
United States Department of State,               )
                                                 )
                     Defendant/Respondent.       )
                                                 )

                                                      NOTICE

         With heavy hearts and on behalf of the parents of Baby M., Ponn and Mohammed Sabra,

and on behalf of Baby M.’s three sisters and the rest of her family members, counsel for Plaintiffs

informs this Court of the recent death of Baby M. in Gaza, Palestine. 2 While the parents of Baby

M. continue to assert all of their legal rights as stated throughout the course of this case, pursuing

litigation further will no longer serve to benefit the family or Baby M. We ask respect for her

grieving family, and in remembering Baby M. we state inna lillahi wa inna ilayhi raji'un. 3




1
  While the case was initiated against Michael Pompeo, the role of Secretary of the Department of State is now filled
by Antony J. Blinken, who becomes the proper defendant automatically under Fed. R. Civ. P. 25(d); however, as this
is the final filing which Plaintiffs anticipate in this matter, Plaintiffs list the caption as it currently appears on the
Court’s docket sheet.
2
  Though an infant at the initiation of this litigation, Baby M. reached the age of two shortly before her passing.
3
  Translated to English, this phrase means “To God we belong and to Him we return” and is written in Arabic as
                                       ِ ‫إِﻧﱠﺎ ِ ٰ ﱠ‬.
               ِ ‫� َوإِﻧﱠﺎ إِﻟَ ْﯾ ِﮫ َر‬
follows: َ‫اﺟﻌُون‬
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Dated: September 24, 2021                                   Respectfully submitted,


                                                            By: /s/ Christina A. Jump
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                                                            Counsel for Plaintiff Mohammed
                                                            Sabra, as Next Friend of Baby M.




                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 24th day of September, 2021. I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.


                                                                       /s/ Christina Jump
                                                                              Christina A. Jump
                                                                          Attorney for Plaintiffs




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